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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA


 IRISH 4 REPRODUCTIVE HEALTH
 et al.,

      Plaintiffs,                                 Case No. 3:18-cv-0491-PPS-JEM

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES
 et al.,

      Defendants.



                        NOTICE OF SUPPLEMENTAL AUTHORITY

         Federal Defendants respectfully give notice to the Court regarding the attached

memorandum and order granting defendants’ motion for summary judgment and denying

plaintiff’s motion for summary judgment in Massachusetts v. Department of Health & Human

Services. Mem. & Order (Op.), No. 17-cv-11930 (D. Mass. Jan. 15, 2021), ECF No. 139, attached

as Ex. A.

         That case involved challenges to the validity of the same Final Rules at issue here. The

District of Massachusetts court concluded that the Supreme Court’s decision in Little Sisters of the

Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020), disposed of plaintiff’s

procedural challenges to the Final Rules and argument that the defendant-agencies lacked statutory

authority to promulgate the Final Rules. Op. 12. Turning to the remaining claims, the District of

Massachusetts court rejected plaintiff’s claim that the Final Rules were arbitrary and capricious.

Op. 12-19. The court also rejected plaintiff’s Establishment Clause claim. Op. 19-24. Finally,

the court rejected plaintiff’s equal protection claim. Op. 25-29.
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Dated: January 19, 2021            Respectfully submitted,


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                                   Special Counsel to the Assistant Attorney General

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                                   Assistant Branch Director

                                   /s/ Rebecca M. Kopplin _
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Federal Defendants’ Notice of

Supplemental Authority was served on counsel for all parties using the Court’s CM/ECF system

on January 19, 2021.


                                            /s/ Rebecca M Kopplin_____
                                            REBECCA M. KOPPLIN
                                            Counsel for Federal Defendants
